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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA
                                   Richmond Division

JOSEPH L. BOYKIN,
                                       Plaintiff,
v.                                                     Case No. 3:14cv811

VIRGINIA DEPARTMENT OF JUVENILE JUSTICE, et al.,

                                       Defendants.


                            DEFENDANTS’ MOTION TO DISMISS

         The defendants the Virginia Department of Juvenile Justice (“DJJ”),1 Andrew Block

(“Block”), Mark Gooch (“Gooch”), Eric Tignor (“Tignor”), Peggy Parrish (“Parrish”), Charles

Dockery (“Dockery”), David Grubich (“Grubich”), and Lakara Johnson (“Johnson”) (collectively,

“Defendants”)2, by counsel, respectfully move this Court to dismiss, in its entirety and with

prejudice, the Complaint filed against them by the plaintiff, Joseph L. Boykin. 3

         In support of its Motion, Defendant relies on the Memorandum of Law in Support of the

Defendant’s Motion to Dismiss that has been filed contemporaneously herewith.

1
  Plaintiff has named Beaumont Juvenile Correctional Center (“Beaumont”) as a separate
defendant. Beaumont was established under Va. Code § 66-13(A) as a facility for the
rehabilitation, education, training and confinement of juveniles committed to DJJ. As an arm of
the DJJ, Beaumont cannot be sued as a separate entity.
2
   It is not clear whether Block, Gooch, Tignor, Parrish, Dockery, Grubich and Johnson have
been sued in their individual capacities, or only in their official capacities. Regardless, the
claims against them must be dismissed.
3
  Gooch, Grubich and Dockery are no longer employees of DJJ. Their names should be removed
from the proceedings in their official capacities. See Fed. R. Civ. P. 25(d). Block has succeeded
Gooch as Director, Parrish has succeeded Dockery as Superintendent, and Aaron Dixon has
succeeded Grubich as Assistant Superintendent. Defendants respond on behalf of these
individuals in their official capacities only. Gooch, Grubich and Dockery have not been properly
served in their individual capacities, and do not join in this motion in such individual capacity.
Grubich joins this motion is his individual capacity only to the extent that he challenges the
sufficiency of process under Fed. R. Civ. P. 12(b)(5).
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V.     “ROSEBORO NOTICE”

       Consistent with the requirements of Roseboro v. Garrison, 528 F.2d 309 (4th Cir. 1975), as

well as Local Rule 7(K), the following advises the pro se plaintiff herein, Joseph L. Boykin, that:

       (1)     he is entitled to file a response opposing Defendants’ Motion to Dismiss.

               Any such response must be filed within twenty-one (21) days of the date on

               which the Motion to Dismiss was filed;

       (2)     the Court could dismiss this action on the basis of the Defendants’ moving

               papers if he does not file a response;

       (3)     he must identify all facts stated by the Defendants with which he disagrees

               and must set forth his version of the facts by offering affidavits (written

               statements signed before a notary public under oath) or by filing sworn

               statements (bearing a certificate that is signed under penalty of perjury);

               and

       (4)     he also is entitled to file a legal brief in opposition to the one filed by the

               Defendants herein.


                                        Respectfully Submitted,

                                        VIRGINIA DEPARTMENT OF JUVENILE JUSTICE,
                                        ANDREW BLOCK in his official and individual
                                        capacities,
                                        ERIC TIGNOR in his official and individual capacities,
                                        PEGGY PARRISH in her official and individual
                                        capacities,
                                        LAKARA JOHNSON in her official and individual
                                        capacities,
                                        MARK GOOCH, in his official capacity,
                                        CHARLES DOCKERY in his official capacity, and
                                        DAVID GRUBICH in his official and individual
                                        capacities.



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                                   By:   ____________/s/_____________
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                                  CERTIFICATE OF SERVICE

       I hereby certify that, on this 21st day of January, 2015, the foregoing DEFENDANT’S

MOTION TO DISMISS was filed electronically with the Clerk of Court using the CM/ECF

system, which will send notification of such filing (NEF), and sent via electronic mail and first

class, postage prepaid, to the following:

                                         Joseph L. Boykin
                                     4907 Sulky Drive, Apt. 101
                                       Richmond, VA 23228
                                      Jboykin149@yahoo.com
                                       PLAINTIFF PRO SE



                                       By:    ____________/s/_____________
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